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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

THE UNITED STATES OF AMERICA,                   Criminal No. 17-20183

                  Plaintiff,                    HON. MARK A. GOLDSMITH
v.

D-2 JANETTE GAGGO TAWFIK,
D-3 SHELVIE LEWIS AVERY,
    a/k/a “Q,”
D-4 TERRY PRUITT,
    a/k/a “T,”
D-5 HAROLD LASHAWN NERO,
    a/k/a “NEPHEW,”
D-6 MICHAEL ANTHONY RANDOL,
    a/k/a “MAN,”
D-7 CHARLES THOMAS FORD JR.,
    A/K/A “CHUCK D,”
D-8 JACK HANA YAKO,
D-9 KEMAL GABRAIL,

                  Defendants.
                                          /

    STIPULATION FOR ORDER PROVIDING FOR DISCOVERY
 PROCEDURES AND FOR EXCLUDABLE DELAY AND TO SET DATES

      Counsel for Defendants Janette Gaggo Tawfik, Shelvie Lewis Avery, Terry

Pruitt, Harold Lashawn Nero, Michael Anthony Randol, Charles Thomas Ford Jr.,

Jack Hana Yako, and Kemal Gabrail (the “Defense Counsel”), and the government,

participated in a status conference before the Court on November 14, 2017. The




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parties discussed case management, discovery, and Speedy Trial issues before the

Court, which were to be set forth in writing as follows.

      The parties agree and stipulate, as they did at the November 14, 2017 status

conference, to all of the following:

      1.     The Defense Counsel, along with their discovery coordinator,

             Christopher Antone, will schedule and conduct a discovery

             conference with Robert J. Ranz, Sixth Circuit Case Budgeting

             Attorney, and provide a letter summarizing the results of that

             meeting to the Court no later than November 28, 2017. The

             Defense Counsel will copy the government on that letter.

      2.     The government will make a good faith effort to provide the

             Defense Counsel with an ongoing list of video segments that it

             intends to introduce at trial from among the approximately

             15,000 hours of video surveillance from the Victory Inn’s

             internal surveillance system (the “Internal Video”). The purpose

             of this list (the “Video List”) is to provide the Defense Counsel

             with a reasonable guide for reviewing the total Internal Video

             and does not relieve the Defense Counsel of any obligations they

             might have to prepare their defense(s).



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      3.     The government will make a good faith effort to provide the first

             installment of the Video List three months from November 14,

             2017, which is February 14, 2018. The government will make a

             good faith effort to provide the second—and potentially final—

             installment of the Video List three months from February 14,

             2018, which is May 14, 2018. The parties recognize that the May

             14, 2018 date is not a “cut-off,” and that the government may still

             be in the process of reviewing the Internal Video and compiling

             the Video List segments it intends to introduce at trial. The May

             14, 2018 date does not preclude the government from continuing

             to review the Internal Video and the government will provide

             additional lists every 90 days as it completes its review and

             assessment of the Internal Video.

      The parties further agree and stipulate, as they did at the November 14, 2017

status conference, that there is good cause to adjourn this matter, and for the Court

to set a status conference for May 23, 2018, at 2:00 p.m., where the Court will assess

the state of discovery and may set new motion, plea hearing, and trial dates. See 18

U.S.C. §3161. This extension of time is necessary to allow the parties to investigate

the facts of this case further, to obtain and review voluminous discovery, to engage

in plea negotiations, and because the failure to grant such a continuance would

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unreasonably deny Defendants the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. Defendants concur in

this request and agree that it is in their best interest.

       The parties also stipulate and agree that this stipulation and any order resulting

therefrom shall not affect any previous order of pretrial detention or bond unless

modified by further order of the Court.


 s/ Jerome F. Gorgon Jr.                          s/ Michael S. Friedman w/permission
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s/ S. Allen Early III w/permission                s/ Mark H. Magidson w/permission
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s/ Doraid B. Elder w/permission          s/ Marlon B. Evans w/ permission
Attorney for Mr. Yako                    Attorney for Charles Thomas Ford Jr.
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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

THE UNITED STATES OF AMERICA,                    Criminal No. 17-20183

                  Plaintiff,                     HON. MARK A. GOLDSMITH
v.

D-2 JANETTE GAGGO TAWFIK,
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    a/k/a “MAN,”
D-7 CHARLES THOMAS FORD JR.,
    A/K/A “CHUCK D,”
D-8 JACK HANA YAKO,
D-9 KEMAL GABRAIL,

                  Defendants.
                                           /

     ORDER PROVIDING FOR DISCOVERY PROCEDURES AND
        FOR EXCLUDABLE DELAY AND TO SET DATES

      This matter coming before the court on the stipulation and agreement of the

parties, it is hereby ORDERD that:

      1.    Defense Conference with Sixth Circuit Case Budgeting Attorney
            Robert J. Ranz

      Counsel for Defendants Janette Gaggo Tawfik, Shelvie Lewis Avery, Terry

Pruitt, Harold Lashawn Nero, Michael Anthony Randol, Charles Thomas Ford Jr.,

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Jack Hana Yako, and Kemal Gabrail (the “Defense Counsel”), along with their

discovery coordinator, Christopher Antone, will schedule and conduct a discovery

conference with Robert J. Ranz, Sixth Circuit Case Budgeting Attorney, and provide

a letter summarizing the results of that meeting to the Court no later than November

28, 2017. The Defense Counsel will copy the government on that letter.

      2.     Government’s Rolling Review of the Victory Inn’s Internal
             Surveillance System

      The government will make a good faith effort to provide the Defense Counsel

with an ongoing list of video segments that it intends to introduce at trial from among

the approximately 15,000 hours of video surveillance from the Victory Inn’s internal

surveillance system (the “Internal Video”). The purpose of this list (the “Video

List”) is to provide the Defense Counsel with a reasonable guide for reviewing the

total Internal Video and does not relieve the Defense Counsel of any obligations they

might have to prepare their defense(s).

      3.     Schedule for the Government’s Rolling Review of the Victory Inn’s
             Internal Surveillance System

      The government will make a good faith effort to provide the first installment

of the Video List three months from November 14, 2017, which is February 14,

2018. The government will make a good faith effort to provide the second—and

potentially final—installment of the Video List three months from February 14,

2018, which is May 14, 2018. The parties recognize that the May 14, 2018 date is

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not a “cut-off,” and that the government may still be in the process of reviewing the

Internal Video and compiling the Video List segments it intends to introduce at trial.

The May 14, 2018 date does not preclude the government from continuing to review

the Internal Video and the government will provide additional lists every 90 days as

it completes its review and assessment of the Internal Video.

      4.     Adjournment of Dates and New Dates

      Good cause exists to adjourn this matter, and for the Court to set a status

conference for May 23, 2018, at 2:00 p.m., where the Court will assess the state of

discovery and may set new motion, plea hearing, and trial dates. See 18 U.S.C.

§3161.

      5.     Time Excluded under Speedy Trial Act

      The period from November 14, 2017 to May 23, 2018, shall be excluded from

computing the time within which a trial must begin because the time is necessary to

allow the parties to investigate the facts of this case further, to obtain and review

voluminous discovery, to engage in plea negotiations, and because the failure to

grant such a continuance would unreasonably deny Defendants the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence,

and because the ends of justice served by such continuance outweigh the interests of

the public and Defendants in a speedy trial. See 18 U.S.C. § 3161.




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      6.     Detention Orders

      The detention and bond orders in this case remain in full force and effect
unless modified by further order of the Court.

      SO ORDERED.



Dated: December 5, 2017                s/Mark A. Goldsmith
Detroit, Michigan                      MARK A. GOLDSMITH
                                       United States District Judge




                           CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of
record and any unrepresented parties via the Court's ECF System to their respective
email or First Class U.S. mail addresses disclosed on the Notice of Electronic Filing
on December 5, 2017.

                                       s/Karri Sandusky
                                             Case Manager




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